
300 Multiple Choices

Multiple Choices
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/attorneys/assets/opinions/supreme/a_80_15.pdf (mistyped character)
/attorneys/assets/opinions/supreme/a_65_15.pdf (mistyped character)
/attorneys/assets/opinions/supreme/a_84_15.pdf (mistyped character)
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/attorneys/assets/opinions/supreme/a_86_15.pdf (mistyped character)


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